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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MINNESOTA

 UNITED STATES OF AMERICA,
                                                  Case No. 24-cr-00072-PJS-LIB
                  Plaintiff,
                                                  MOTION TO DISMISS
                  v.

 JERRY HAL SALITERMAN,

                  Defendant.


      The United States of America, by Jennifer K. Puhl, Acting United States Attorney

for the District of North Dakota, and Matthew D. Greenley, Assistant United States

Attorney, acting under authority conferred by 28 U.S.C. § 515, moves the Court for an

Order to dismiss the Indictment in the above-captioned case because the Defendant

passed away on March 16, 2025.

      Dated: March 17, 2025

                                        JENNIFER K. PUHL
                                        Acting United States Attorney

                                  By:   ____________________________
                                        /s/ Matthew D. Greenley
                                        MATTHEW D. GREENLEY
                                        Assistant United States Attorney
                                        Acting Under Authority Conferred by
                                               28 U.S.C. § 515
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